      Case 1:23-cr-00047-MHC-JEM Document 9 Filed 02/07/23 Page 1 of 1




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                                                                                                          FILEDIN Glc:KK'SOFFICE
                                                                                                                U.S.0.C. · Atlanta
                                  United States District Court
                                  NOR1HERN DISTRICT OF GEORGIA
                                                                                                            FEB O7 2023
  UNITED STATES OF AMERICA
  v.

  Kristopher Kneubuhler                                             Case Number: 1:23-MJ-027

                                                                                                       CA'I'\   s
TO:      The United States Marahal
         and any Authorized United States Officer


YOU ARE HEREBY COMMANDED to arrest Kristopher Kneubuhler

and bring him or her forthwith to the nearest magistrate judge to answer a COMPLAINT charging him
with: receipt and possession of visual depictions of minors engaging in sexually explicit conduct


in violation of Title 18, United States Code, Sections 2252(a)(2) and 2252(a)(4)(B).


 CA11IIIINIIM SAUNAS                                          United States Magistrate Judge
 N - of Issuing Of:fi..-                                      nt1eolfssuin8o&ar-


                                                              January 6, 20'13
                                                               Atlanta, Georgia
                                                              0... and Loc:atioft


                                                           by___ _ _ _ _ _ _ _ __ __
Bail Fixed al$: . . . - - - - - - - - -- -
                                                                    Name ol JadimlC>ffbr



                                                   RETURN

This warrant was received and executed with the an-est of the above-named defendant at:




                 - r7 ,.     - .,...3,____ _ _ _ __
DateRec:eived:.___,.1/_f,,_/p._                             J)w fh            W.flfl.     we;tz
Date of Arrest.__,_,.,_.[j'+-'£"""';;..,___ _ __
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